              Case 19-10961-JNP                   Doc 1     Filed 01/16/19 Entered 01/16/19 11:18:55                               Desc Main
                                                            Document     Page 1 of 45
Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                W.L. Goodfellow's and Co., Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA W.L. Goodfellows and Co. Restaurant and Pub
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  310 E. White Horse Pike
                                  Absecon, NJ 08205
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Atlantic                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       wlgoodfellows.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor
                                                                 Document     Page 2 ofCase
                                                                                        45 number (if known)
          W.L. Goodfellow's and Co., Inc.
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:

                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                          Case number
                                                  District                                When                          Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     WLG Hospitality, LLC                                      Relationship              Affiliate
                                                  District   New Jersey                   When      11/27/18           Case number, if known     18-33273(ABA)




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor
                                                              Document     Page 3 ofCase
                                                                                     45 number (if known)
         W.L. Goodfellow's and Co., Inc.
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor
                                                             Document     Page 4 ofCase
                                                                                    45 number (if known)
          W.L. Goodfellow's and Co., Inc.
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      January 16, 2019
                                                  MM / DD / YYYY


                             X   /s/ John Cicarelli                                                      John Cicarelli
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   Managing Member




18. Signature of attorney    X   /s/ E. Richard Dressel                                                   Date January 16, 2019
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 E. Richard Dressel ED1793
                                 Printed name

                                 Flaster Greenberg PC - Cherry Hill
                                 Firm name

                                 1810 Chapel Ave West
                                 Cherry Hill, NJ 08002
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     856-661-1900                  Email address      rick.dressel@flastergreenberg.com

                                 ED1793 NJ
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:

 Debtor name         W.L. Goodfellow's and Co., Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          January 16, 2019                        X /s/ John Cicarelli
                                                                       Signature of individual signing on behalf of debtor

                                                                       John Cicarelli
                                                                       Printed name

                                                                       Managing Member
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                 Case 19-10961-JNP                         Doc 1       Filed 01/16/19 Entered 01/16/19 11:18:55                                         Desc Main
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 Fill in this information to identify the case:
 Debtor name W.L. Goodfellow's and Co., Inc.
 United States Bankruptcy Court for the: DISTRICT OF NEW JERSEY                                                                                       Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Capital One                                                                                                                                                              $11,621.38
 Services, LLC
 PO Box 30285
 Salt Lake City, UT
 84130
 Elan Financial                                                                                                                                                           $12,516.20
 Services
 c/o Altran Financial,
 L.P.
 PO Box 4043
 Concord, CA
 94524-4043
 Fire Safety, c/o                                                                                                                                                           $1,207.28
 PennCredit
 916 s. 14th Street
 PO Box 988
 Harrisburg, PA
 17108-0988
 Fulton Bank of New                                              Blanket Lien on all Disputed                       $662,941.00               $138,895.00               $525,441.00
 Jersey                                                          assets (excluding
 533 Fellowship                                                  liquor license)
 Road
 Suite 250
 Mount Laurel, NJ
 08054
 Gaije Hopkins                                                   Wages                                                                                                        $965.12
 617 First Avneue
 Galloway, NJ 08205
 Gino A. Cicarelli                                               Wages                                                                                                      $2,240.00
 701 Eagle Point
 Court
 Smithville, NJ 08205
 Gino A. Cicarelli                                                                                                                                                        $23,156.22
 701 Eagle Point
 Court
 Smithville, NJ 08205



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                 Case 19-10961-JNP                         Doc 1       Filed 01/16/19 Entered 01/16/19 11:18:55                                         Desc Main
                                                                       Document     Page 7 of 45

 Debtor    W.L. Goodfellow's and Co., Inc.                                                                    Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Isauro Flores                                                   Wages                                                                                                      $1,974.10
 26 Reading Avenue
 Pleasantville, NJ
 08232
 James Cicarelli                                                                                                                                                              $400.00
 402 Sea Horse Road
 Brigantine, NJ 08203
 James Portock, CPA                                              2016-2017                                                                                                $14,200.00
 Portock, Bye, Weiss
 & Co.
 2701 New Road
 Northfield, NJ 08225
 Jodie Rowe                                                      Wages                                                                                                        $722.74
 81 West Chester
 Drive
 Little Egg Harbor,
 NJ 08087
 Johnathan Roe                                                   Wages                                                                                                      $2,276.30
 612 Whalers Drive
 Absecon, NJ 08201
 Lindsay Latsch                                                  Wages                                                                                                        $693.14
 643 4th Avenue
 Galloway, NJ 08205
 Maryanne Cicarelli                                                                                                                                                           $640.00
 110 Sterling Drive
 Galloway, NJ 08205
 Penn Credit                                                                                                                                                                $2,112.61
 916 S. 14th Street
 PO Box 988
 Harrisburg, PA
 17108-0988
 Ramon Sanchez                                                   Wages                                                                                                      $2,206.00
 701 Church Street
 Pleasantville, NJ
 08232
 State of New Jersey                                             Tax Audit - Taxes                                                                                        $37,827.01
 Div. of Taxation -
 Compliance Activity
 PO Box 245
 Trenton, NJ 08646
 State of New Jersey                                             STU Taxes (3rd                                                                                           $27,194.00
 Bankruptcy Unit, 9th                                            Qtr and 4th Qtr
 Floor                                                           2018)
 50 Barrack Street
 CN -245
 Trenton, NJ 08646
 US Department of                                                                                                                                                         $24,182.88
 Labor
 110 N 8th St
 P.O. Box 7346
 Philadelphia, PA
 19107


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
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 Debtor    W.L. Goodfellow's and Co., Inc.                                                                    Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Williams Scotsman                                                                                                                                                          $2,363.93
 PO Box 91975
 Chicago, IL
 60693-1975




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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             Case 19-10961-JNP                                    Doc 1             Filed 01/16/19 Entered 01/16/19 11:18:55                                                           Desc Main
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 Fill in this information to identify the case:

 Debtor name            W.L. Goodfellow's and Co., Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           313,895.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           313,895.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           662,941.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           102,905.17

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$            67,177.62


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             833,023.79




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
            Case 19-10961-JNP                         Doc 1           Filed 01/16/19 Entered 01/16/19 11:18:55                         Desc Main
                                                                     Document      Page 10 of 45
 Fill in this information to identify the case:

 Debtor name         W.L. Goodfellow's and Co., Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Fulton Bank                                             Operating Account               1167                                     $3,796.00



                                                                            Credit Card/Merchant
           3.2.     Fulton Bank                                             Account                         1373                                       $149.00




           3.3.     Fulton Bank                                             Payroll Account                 1382                                     $4,950.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                      $8,895.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
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 Debtor         W.L. Goodfellow's and Co., Inc.                                               Case number (If known)
                Name


        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last        Net book value of      Valuation method used   Current value of
                                                      physical inventory      debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Liquor                                                                     $15,000.00                                       $15,000.00


           Food                                                                       $20,000.00                                       $20,000.00



 23.       Total of Part 5.                                                                                                        $35,000.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                      0.00 Valuation method                          Current Value                        0.00

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
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                                                                     Document      Page 12 of 45
 Debtor         W.L. Goodfellow's and Co., Inc.                                               Case number (If known)
                Name



           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Furniture, fixtures, furnishings, equipment                                $75,000.00                                       $75,000.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                           $75,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Point of Sale System
           NCR/Aloha                                                                  $20,000.00                                       $20,000.00




 51.       Total of Part 8.                                                                                                        $20,000.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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 Debtor         W.L. Goodfellow's and Co., Inc.                                               Case number (If known)
                Name


               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used   Current value of
            property                                      extent of           debtor's interest        for current value       debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. 310 E. White Horse
                     Pike
                     Galloway, NJ 08225                   Leasehold                         $0.00      N/A                                         $0.00




 56.        Total of Part 9.                                                                                                                   $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                                Current value of
                                                                                                                                debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 4
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                Name

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

           Liquor License (#0111-33-025-005)                                                                                 $175,000.00




 78.       Total of Part 11.                                                                                              $175,000.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 5
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 Debtor          W.L. Goodfellow's and Co., Inc.                                                                     Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $8,895.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $35,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $75,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $20,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                $175,000.00

 91. Total. Add lines 80 through 90 for each column                                                            $313,895.00           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $313,895.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 6
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 Fill in this information to identify the case:

 Debtor name          W.L. Goodfellow's and Co., Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1    Fulton Bank of New Jersey                     Describe debtor's property that is subject to a lien                 $662,941.00               $138,895.00
        Creditor's Name                               Blanket Lien on all assets (excluding liquor
        533 Fellowship Road                           license)
        Suite 250
        Mount Laurel, NJ 08054
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.          $662,941.00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 1
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                                                                     Document      Page 17 of 45
 Fill in this information to identify the case:

 Debtor name         W.L. Goodfellow's and Co., Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $264.70         $264.70
           Brittney Cragle                                           Check all that apply.
           PO Box 83                                                    Contingent
           Leeds Point, NJ 08220                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Wages

           Last 4 digits of account number 5949                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                           $56.94        $56.94
           Carolina Sanchez                                          Check all that apply.
           302 S. Xanthus Avenue                                        Contingent
           Galloway, NJ 08205                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Wages

           Last 4 digits of account number 4065                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 10
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 Debtor       W.L. Goodfellow's and Co., Inc.                                                                 Case number (if known)
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $56.94    $56.94
          Carolyn Reahm                                              Check all that apply.
          134 Mountain Lake Road                                        Contingent
          Little Egg Harbor, NJ 08087                                   Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 0410                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          Department of the Treasury/                                Check all that apply.
          Internal Revenue Service                                      Contingent
          600 Arch Street                                               Unliquidated
          Philadelphia, PA 19106                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes

          Last 4 digits of account number 9337                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          Ernesto Valez                                              Check all that apply.
          739 South 2nd Avenue                                          Contingent
          Galloway, NJ 08205                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 8195                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $965.12    $965.12
          Gaije Hopkins                                              Check all that apply.
          617 First Avneue                                              Contingent
          Galloway, NJ 08205                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 9799                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 2 of 10
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 Debtor       W.L. Goodfellow's and Co., Inc.                                                                 Case number (if known)
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $2,240.00    $2,240.00
          Gino A. Cicarelli                                          Check all that apply.
          701 Eagle Point Court                                         Contingent
          Smithville, NJ 08205                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $0.00     $0.00
          IRS - Special Procedures Unit                              Check all that apply.
          955 S. Springfield Avenue                                     Contingent
          Building A                                                    Unliquidated
          Springfield, NJ 07081                                         Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes

          Last 4 digits of account number 9337                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,974.10    $1,974.10
          Isauro Flores                                              Check all that apply.
          26 Reading Avenue                                             Contingent
          Pleasantville, NJ 08232                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 8313                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $400.00     $400.00
          James Cicarelli                                            Check all that apply.
          402 Sea Horse Road                                            Contingent
          Brigantine, NJ 08203                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 3 of 10
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 Debtor       W.L. Goodfellow's and Co., Inc.                                                                 Case number (if known)
              Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $722.74     $722.74
          Jodie Rowe                                                 Check all that apply.
          81 West Chester Drive                                         Contingent
          Little Egg Harbor, NJ 08087                                   Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 1726                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $400.00     $400.00
          John Cicarelli                                             Check all that apply.
          110 Sterling Drive                                            Contingent
          Galloway, NJ 08205                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $2,276.30    $2,276.30
          Johnathan Roe                                              Check all that apply.
          612 Whalers Drive                                             Contingent
          Absecon, NJ 08201                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 2745                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $291.04     $291.04
          Joseph Hawn III                                            Check all that apply.
          740 South 8th Avenue                                          Contingent
          Galloway, NJ 08205                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 7527                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 4 of 10
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 Debtor       W.L. Goodfellow's and Co., Inc.                                                                 Case number (if known)
              Name

 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $144.40    $144.40
          Lauren Fritschka                                           Check all that apply.
          861-B Dorchester Lane                                         Contingent
          New Milford, NJ 07646                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 1731                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $693.14    $693.14
          Lindsay Latsch                                             Check all that apply.
          643 4th Avenue                                                Contingent
          Galloway, NJ 08205                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 8700                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $640.00    $640.00
          Maryanne Cicarelli                                         Check all that apply.
          110 Sterling Drive                                            Contingent
          Galloway, NJ 08205                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $56.94    $56.94
          Megan DiFiore                                              Check all that apply.
          552 S. Barnegat Avenue                                        Contingent
          Egg Harbor City, NJ 08215                                     Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 4461                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 5 of 10
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 Debtor       W.L. Goodfellow's and Co., Inc.                                                                 Case number (if known)
              Name

 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $2,206.00    $2,206.00
          Ramon Sanchez                                              Check all that apply.
          701 Church Street                                             Contingent
          Pleasantville, NJ 08232                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $234.05     $234.05
          Sergio Delgado                                             Check all that apply.
          271 Mattix Run                                                Contingent
          Galloway, NJ 08205                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 2197                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $37,827.01    $37,827.01
          State of New Jersey                                        Check all that apply.
          Div. of Taxation - Compliance                                 Contingent
          Activity                                                      Unliquidated
          PO Box 245                                                    Disputed
          Trenton, NJ 08646
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax Audit - Taxes

          Last 4 digits of account number 9337                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $27,194.00    $0.00
          State of New Jersey                                        Check all that apply.
          Bankruptcy Unit, 9th Floor                                    Contingent
          50 Barrack Street                                             Unliquidated
          CN -245                                                       Disputed
          Trenton, NJ 08646
          Date or dates debt was incurred                            Basis for the claim:
                                                                     STU Taxes (3rd Qtr and 4th Qtr 2018)

          Last 4 digits of account number 9337                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 6 of 10
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 Debtor        W.L. Goodfellow's and Co., Inc.                                                                Case number (if known)
               Name

 2.23       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                        $0.00    $0.00
            State of New Jersey                                      Check all that apply.
            Attorney General                                            Contingent
            Hughes Justice Complex                                      Unliquidated
            CN-080                                                      Disputed
            Trenton, NJ 08625
            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.24       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $78.87    $78.87
            Tyler Laustsen                                           Check all that apply.
            513 S. 4th Avenue                                           Contingent
            Galloway, NJ 08205                                          Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Wages

            Last 4 digits of account number 8158                     Is the claim subject to offset?

            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.25       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                  $24,182.88     $24,182.88
            US Department of Labor                                   Check all that apply.
            110 N 8th St                                                Contingent
            P.O. Box 7346                                               Unliquidated
            Philadelphia, PA 19107                                      Disputed

            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                        Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.               $11,621.38
           Capital One Services, LLC                                                   Contingent
           PO Box 30285                                                                Unliquidated
           Salt Lake City, UT 84130                                                    Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.               $12,516.20
           Elan Financial Services                                                     Contingent
           c/o Altran Financial, L.P.                                                  Unliquidated
           PO Box 4043                                                                 Disputed
           Concord, CA 94524-4043
                                                                                   Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number      3138                               Is the claim subject to offset?     No       Yes




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              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Estate of Janet Cicarelli, c/o                                        Contingent
          Jill AliceJohn Cicarell (co-executors)
                                                                                Unliquidated
          310 E. White Horse Pike
          Galloway, NJ 08225                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Coobligor
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,207.28
          Fire Safety, c/o
          PennCredit                                                            Contingent
          916 s. 14th Street                                                    Unliquidated
          PO Box 988                                                            Disputed
          Harrisburg, PA 17108-0988
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $23,156.22
          Gino A. Cicarelli                                                     Contingent
          701 Eagle Point Court                                                 Unliquidated
          Smithville, NJ 08205                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          James Cicarelli                                                       Contingent
          402 Sea Horse Road
                                                                                Unliquidated
          Brigantine, NJ 08203
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $14,200.00
          James Portock, CPA                                                    Contingent
          Portock, Bye, Weiss & Co.                                             Unliquidated
          2701 New Road                                                         Disputed
          Northfield, NJ 08225
                                                                             Basis for the claim:    2016-2017
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          John Cicarelli                                                        Contingent
          110 Sterling Drive
                                                                                Unliquidated
          Galloway, NJ 08205
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,112.61
          Penn Credit                                                           Contingent
          916 S. 14th Street                                                    Unliquidated
          PO Box 988                                                            Disputed
          Harrisburg, PA 17108-0988
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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              Name

 3.10      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $2,363.93
           Williams Scotsman                                                    Contingent
           PO Box 91975                                                         Unliquidated
           Chicago, IL 60693-1975                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No    Yes

 3.11      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               Unknown
           WLG Hospitality, LLC                                                 Contingent
           310 E. White Horse Pike
                                                                                Unliquidated
           Galloway, NJ 08225
                                                                                Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                   Basis for the claim:    Coobligor
                                                                             Is the claim subject to offset?         No    Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any
 4.1       Altran Financial, LP
           PO Box 722929                                                                              Line     3.2
           Houston, TX 77272-2929
                                                                                                             Not listed. Explain

 4.2       Arthur J. Abramowitz, Esquire
           Sherman Silverstein Kohl Rose                                                              Line     3.11
           Suite 200
                                                                                                             Not listed. Explain
           308 Harper Dr
           Moorestown, NJ 08057

 4.3       Capital One Services, LLC
           PO Box 30285                                                                               Line     3.1
           Salt Lake City, UT 84130
                                                                                                             Not listed. Explain

 4.4       Eric Cohen
           NJ Division of Taxation                                                                    Line     2.22
           1915 New Road, 2nd Floor
                                                                                                             Not listed. Explain
           Northfield, NJ 08225

 4.5       Internal Revenue Service
           Special Procedures Branch                                                                  Line     2.8
           Bankruptcy Section
                                                                                                             Not listed. Explain
           PO Box 744
           Springfield, NJ 07081-0744

 4.6       Mercantile Adjustment Bureau, LLC
           PO Box 9055                                                                                Line     3.2
           Williamsville, NY 14231-9055
                                                                                                             Not listed. Explain

 4.7       State of New Jersey
           Division of Taxation                                                                       Line     2.22
           Revenue Processing Center
                                                                                                             Not listed. Explain
           PO Box 999
           Trenton, NJ 08644-0999



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              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                 related creditor (if any) listed?              account number, if
                                                                                                                                                any
 4.8       US Dept. of Labor
           Wage and Hour Division                                                                Line     2.25
           Attn: John Kelly, Asst. District Dr.
                                                                                                        Not listed. Explain
           3131 Princeton PIke, Bldg. 5, Rm 216
           Lawrence Township, NJ 08648


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                    102,905.17
 5b. Total claims from Part 2                                                                       5b.    +     $                     67,177.62

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.          $                      170,082.79




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 10 of 10
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 Fill in this information to identify the case:

 Debtor name         W.L. Goodfellow's and Co., Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                   Listing/Brokerage
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining
                                                                                     ReMax Atlantic
             List the contract number of any                                         6492 Black Horse Pike
                   government contract                                               Egg Harbor Township, NJ 08234


 2.2.        State what the contract or                   Month-to-Month Lease
             lease is for and the nature of               $7,093.62/month
             the debtor's interest

                  State the term remaining
                                                                                     WLG Hospitality, LLC
             List the contract number of any                                         310 E. White Horse Pike
                   government contract                                               Galloway, NJ 08225




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         W.L. Goodfellow's and Co., Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      James Cicarelli                   402 Sea Horse Road                                 State of New Jersey               D
                                               Brigantine, NJ 08203                                                                 E/F       2.21
                                                                                                                                    G




    2.2      John Cicarelli                    110 Sterling Drive                                 Capital One Services,             D
                                               Galloway, NJ 08205                                 LLC                               E/F       3.1
                                                                                                                                    G




    2.3      John Cicarelli                    110 Sterling Drive                                 Elan Financial                    D
                                               Galloway, NJ 08205                                 Services                          E/F       3.2
                                                                                                                                    G




    2.4      John Cicarelli                    110 Sterling Drive                                 State of New Jersey               D
                                               Galloway, NJ 08205                                                                   E/F       2.22
                                                                                                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         W.L. Goodfellow's and Co., Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       For prior year:                                                                             Operating a business                               $905,000.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other


       For year before that:                                                                       Operating a business                               $842,061.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other


       For the fiscal year:                                                                        Operating a business                               $783,443.00
       From 1/01/2016 to 12/31/2016
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
    may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Fulton Bank of New Jersey                         Collection                 State of New Jersey                          Pending
               vs. WLG Hospitality, LLC, et                                                 Law Division                                 On appeal
               al.                                                                          Burlington County
                                                                                                                                         Concluded
               L-2724-17

       7.2.    Fulton Bank of New Jersey                         Foreclosure                Superior Court of New                        Pending
               vs. WLG Hospitality, et al                                                   Jersey                                       On appeal
               F-4645-18                                                                    Chancery Division
                                                                                                                                         Concluded
                                                                                            Atlantic County


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                              Value



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 Debtor        W.L. Goodfellow's and Co., Inc.                                                              Case number (if known)



 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss      Value of property
       how the loss occurred                                                                                                                                lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates            Total amount or
                 the transfer?                                                                                                                           value
                 Address
       11.1.                                                                                                                   10/10/18 -
                                                                                                                               $2,088.45
                                                                                                                               11/7/1/ -
                                                                                                                               $611.55
                 Flaster Greenberg PC -                                                                                        12/12/18 -
                 Cherry Hill                                                                                                   $6,506.33;
                 1810 Chapel Ave West                                                                                          See also
                 Cherry Hill, NJ 08002                               Attorney Fees                                             Form 2030              $8,252.69

                 Email or website address
                 rick.dressel@flastergreenberg.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers        Total amount or
                                                                                                                         were made                       value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                     Date transfer       Total amount or
                Address                                          payments received or debts paid in exchange                was made                     value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

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           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                        Names of anyone with                Description of the contents            Do you still
                                                                      access to it                                                               have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




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          None

       Facility name and address                                      Names of anyone with                Description of the contents                   Do you still
                                                                      access to it                                                                      have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                            Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

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26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.1.       Portock, Bye, Weiss & Co.                                                                                            1984 - present
                    2701 New Road
                    Northfield, NJ 08225

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.1.       Portock, Bye, Weiss & Co.                                                                                            1984 - present
                    2701 New Road
                    Northfield, NJ 08225

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       James Portock, CPA
                    Portock, Bye, Weiss & Co.
                    2701 New Road
                    Northfield, NJ 08225

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       John Cicarelli                                 110 Sterling Drive                                  Managing Member                       50%
                                                      Galloway, NJ 08205

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       James Cicarelli                                402 Sear Horse Road                                 Member                                50%
                                                      Brigantine, NJ 08203



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
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    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 John Cicarelli
       .                                                         $38,000 salary                                          various           Salary

               Relationship to debtor
               50% Owner


       30.2 James Cicarelli
       .                                                         $38,000 salary                                          various           Salary

               Relationship to debtor
               50% Owner


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




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 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         January 16, 2019

 /s/ John Cicarelli                                                     John Cicarelli
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Managing Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                         District of New Jersey
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                                                                                  Debtor(s)                   Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  8,252.69
             Prior to the filing of this statement I have received                                        $                  8,252.69
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               *Counsel reserves the right to make application to the Court for allowance of additional compensation and
               reimbursement of expenses incurred on behalf of debtor.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     January 16, 2019                                                             /s/ E. Richard Dressel
     Date                                                                         E. Richard Dressel ED1793
                                                                                  Signature of Attorney
                                                                                  Flaster Greenberg PC - Cherry Hill
                                                                                  1810 Chapel Ave West
                                                                                  Cherry Hill, NJ 08002
                                                                                  856-661-1900 Fax: 856-661-1919
                                                                                  rick.dressel@flastergreenberg.com
                                                                                  Name of law firm




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                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 James Cicarelli                                                                                                                 50%
 402 Sear Horse Road
 Brigantine, NJ 08203

 John Cicarelli                                                                                                                  50%
 110 Sterling Drive
 Galloway, NJ 08205


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Managing Member of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



 Date January 16, 2019                                                       Signature /s/ John Cicarelli
                                                                                            John Cicarelli

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                               VERIFICATION OF CREDITOR MATRIX


I, the Managing Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       January 16, 2019                                           /s/ John Cicarelli
                                                                        John Cicarelli/Managing Member
                                                                        Signer/Title




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                        Altran Financial, LP
                        PO Box 722929
                        Houston, TX 77272-2929


                        Arthur J. Abramowitz, Esquire
                        Sherman Silverstein Kohl Rose
                        Suite 200
                        308 Harper Dr
                        Moorestown, NJ 08057


                        Brittney Cragle
                        PO Box 83
                        Leeds Point, NJ 08220


                        Capital One Services, LLC
                        PO Box 30285
                        Salt Lake City, UT 84130


                        Carolina Sanchez
                        302 S. Xanthus Avenue
                        Galloway, NJ 08205


                        Carolyn Reahm
                        134 Mountain Lake Road
                        Little Egg Harbor, NJ 08087


                        Department of the Treasury/
                        Internal Revenue Service
                        600 Arch Street
                        Philadelphia, PA 19106


                        Elan Financial Services
                        c/o Altran Financial, L.P.
                        PO Box 4043
                        Concord, CA 94524-4043


                        Eric Cohen
                        NJ Division of Taxation
                        1915 New Road, 2nd Floor
                        Northfield, NJ 08225


                        Ernesto Valez
                        739 South 2nd Avenue
                        Galloway, NJ 08205
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                    Estate of Janet Cicarelli, c/o
                    Jill AliceJohn Cicarell (co-executors)
                    310 E. White Horse Pike
                    Galloway, NJ 08225


                    Fire Safety, c/o
                    PennCredit
                    916 s. 14th Street
                    PO Box 988
                    Harrisburg, PA 17108-0988


                    Fulton Bank of New Jersey
                    533 Fellowship Road
                    Suite 250
                    Mount Laurel, NJ 08054


                    Gaije Hopkins
                    617 First Avneue
                    Galloway, NJ 08205


                    Gino A. Cicarelli
                    701 Eagle Point Court
                    Smithville, NJ 08205


                    Internal Revenue Service
                    Special Procedures Branch
                    Bankruptcy Section
                    PO Box 744
                    Springfield, NJ 07081-0744


                    IRS - Special Procedures Unit
                    955 S. Springfield Avenue
                    Building A
                    Springfield, NJ 07081


                    Isauro Flores
                    26 Reading Avenue
                    Pleasantville, NJ 08232


                    James Cicarelli
                    402 Sea Horse Road
                    Brigantine, NJ 08203
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                    James Portock, CPA
                    Portock, Bye, Weiss & Co.
                    2701 New Road
                    Northfield, NJ 08225


                    Jodie Rowe
                    81 West Chester Drive
                    Little Egg Harbor, NJ 08087


                    John Cicarelli
                    110 Sterling Drive
                    Galloway, NJ 08205


                    Johnathan Roe
                    612 Whalers Drive
                    Absecon, NJ 08201


                    Joseph Hawn III
                    740 South 8th Avenue
                    Galloway, NJ 08205


                    Lauren Fritschka
                    861-B Dorchester Lane
                    New Milford, NJ 07646


                    Lindsay Latsch
                    643 4th Avenue
                    Galloway, NJ 08205


                    Maryanne Cicarelli
                    110 Sterling Drive
                    Galloway, NJ 08205


                    Megan DiFiore
                    552 S. Barnegat Avenue
                    Egg Harbor City, NJ 08215


                    Mercantile Adjustment Bureau, LLC
                    PO Box 9055
                    Williamsville, NY 14231-9055


                    Penn Credit
                    916 S. 14th Street
                    PO Box 988
                    Harrisburg, PA 17108-0988
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                    Ramon Sanchez
                    701 Church Street
                    Pleasantville, NJ 08232


                    ReMax Atlantic
                    6492 Black Horse Pike
                    Egg Harbor Township, NJ 08234


                    Sergio Delgado
                    271 Mattix Run
                    Galloway, NJ 08205


                    State of New Jersey
                    Div. of Taxation - Compliance Activity
                    PO Box 245
                    Trenton, NJ 08646


                    State of New Jersey
                    Bankruptcy Unit, 9th Floor
                    50 Barrack Street
                    CN -245
                    Trenton, NJ 08646


                    State of New Jersey
                    Attorney General
                    Hughes Justice Complex
                    CN-080
                    Trenton, NJ 08625


                    State of New Jersey
                    Division of Taxation
                    Revenue Processing Center
                    PO Box 999
                    Trenton, NJ 08644-0999


                    Tyler Laustsen
                    513 S. 4th Avenue
                    Galloway, NJ 08205


                    US Department of Labor
                    110 N 8th St
                    P.O. Box 7346
                    Philadelphia, PA 19107
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                    US Dept. of Labor
                    Wage and Hour Division
                    Attn: John Kelly, Asst. District Dr.
                    3131 Princeton PIke, Bldg. 5, Rm 216
                    Lawrence Township, NJ 08648


                    Williams Scotsman
                    PO Box 91975
                    Chicago, IL 60693-1975


                    WLG Hospitality, LLC
                    310 E. White Horse Pike
                    Galloway, NJ 08225
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                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for W.L. Goodfellow's and Co., Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 James Cicarelli
 402 Sear Horse Road
 Brigantine, NJ 08203
 John Cicarelli
 110 Sterling Drive
 Galloway, NJ 08205




    None [Check if applicable]




 January 16, 2019                                                      /s/ E. Richard Dressel
 Date                                                                  E. Richard Dressel ED1793
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for W.L. Goodfellow's and Co., Inc.
                                                                       Flaster Greenberg PC - Cherry Hill
                                                                       1810 Chapel Ave West
                                                                       Cherry Hill, NJ 08002
                                                                       856-661-1900 Fax:856-661-1919
                                                                       rick.dressel@flastergreenberg.com




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